Case 5:23-cr-00636-JKP Document 15 Filed 12/13/23 Page 1 of 5
          Case 5:23-cr-00636-JKP Document 15 Filed 12/13/23 Page 2 of 5




                              ESTEBAN XAVIER FLORES (1),
                             MARIA CELESTE PADILLA (2), and
                              BRADLEE TAYLOR GRINDE (3)

and others, did unlawfully, knowingly and intentionally combine, conspire, confederate and

agree together and with each other to distribute and possess with intent to distribute a controlled

substance, which offense involved 500 grams or more of a mixture or substance containing a

detectable amount of cocaine, its salts, isomers, or salts of its isomers, a Schedule II Controlled

Substance, in violation of Title 21, United States Code, Sections 846 and 841(a)(1)/(b)(1)(B)(ii).

                                         COUNT TWO
                                [21 U.S.C. §§ 841(a)(1)/(b)(1)(C)]

       On or about November 15, 2023, in the Western District of Texas, Defendants,

                              ESTEBAN XAVIER FLORES (1),
                             MARIA CELESTE PADILLA (2), and
                              BRADLEE TAYLOR GRINDE (3)

did unlawfully, knowingly and intentionally possess with intent to distribute a controlled

substance, which offense involved a mixture or substance containing a detectable amount of

cocaine, its salts, isomers, or salts of its isomers, a Schedule II Controlled Substance, in violation

of Title 21, United States Code, Sections 841(a)(1)/(b)(1)(C).

                                         COUNT THREE
                                        [18 U.S.C. § 924(c)]

          On or about November 15, 2023, in the Western District of Texas, Defendant

                               ESTEBAN XAVIER FLORES (1)

did knowingly use and carry at least one firearm, to wit: a a Romarm Drako, 7.62x39 mm caliber

AK pistol with serial number DB-G744-18 Ro and a Glock pistol, model 22, .40 caliber with serial

number MSD407; during and in relation to, and did possess said firearm in furtherance of, a drug




                                                  2
          Case 5:23-cr-00636-JKP Document 15 Filed 12/13/23 Page 3 of 5




trafficking crime for which he may be prosecuted in a court of the United States, that is, Possession

with Intent to Distribute cocaine, all in violation of Title 18, United States Code, Section 924(c).

                                         COUNT FOUR
                                       [18 U.S.C. § 924(c)]

          On or about November 15, 2023, in the Western District of Texas, Defendant

                               MARIA CELESTE PADILLA (2),

did knowingly use and carry at least one firearm, to wit: a Sig Sauer, model P365 handgun, with

serial number 66F045503; during and in relation to, and did possess said firearm in furtherance of,

a drug trafficking crime for which she may be prosecuted in a court of the United States, that is,

Possession with Intent to Distribute cocaine, all in violation of Title 18, United States Code,

Section 924(c).

                                         COUNT FIVE
                                       [18 U.S.C. § 924(c)]

          On or about November 15, 2023, in the Western District of Texas, Defendant

                              BRADLEE TAYLOR GRINDE (3),

did knowingly use and carry at least one firearm, to wit: a Glock 30 handgun, .45 caliber, serial

number BWTZ354, and a Smith and Wesson, model SD9 handgun, with serial number FBM5258;

during and in relation to, and did possess said firearm in furtherance of, a drug trafficking crime

for which he may be prosecuted in a court of the United States, that is, Possession with Intent to

Distribute cocaine, all in violation of Title 18, United States Code, Section 924(c).

                                           COUNT SIX
                                       [18 U.S.C. § 922(o)]

       On or about November 15, 2023, in the Western District of Texas, Defendant,

                              BRADLEE TAYLOR GRINDE (3),

did knowingly possess a machinegun, that is a Glock handgun, which was equipped with a


                                                 3
            Case 5:23-cr-00636-JKP Document 15 Filed 12/13/23 Page 4 of 5




conversion device that made it capable of firing automatically more than one shot, without manual

reloading, by a single function of the trigger, in violation of Title 18, United States Code, Section

922(o).

    NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
                        [See Fed. R. Crim. P. 32.2]

                                                  I.
                              Drug Violations and Forfeiture Statutes
             [Title 21 U.S.C. §§ 846, 841(a)(1), (b)(1)(B)(ii), and (b)(1)(C), subject to
                     forfeiture pursuant to Title 21 U.S.C. § 853(a)(1) and (2)]

          As a result of the criminal violations set forth in Counts One and Two, the United States

of America gives notice to the Defendants of its intent to seek the forfeiture of the property

described below upon conviction and pursuant to Fed. R. Crim. P. Rule 32.2 and Title 21 U.S.C.

§ 853(a)(1) and (2), which state:

          Title 21 USC § 853. Criminal forfeitures
              (a) Property subject to criminal forfeitures.
              Any person convicted of a violation of this subchapter or subchapter II of this chapter
              punishable by imprisonment for more than one year shall forfeit to the United States,
              irrespective of any provision of State law –
                  (1) any property constituting, or derived from, any proceeds the person
                  obtained, directly or indirectly, as the result of such violation;
                  (2) any of the person’s property used, or intended to be used, in any manner
                  or part, to commit, or to facilitate the commission of, such violation; . . .

                                              II.
                         Firearm Violations and Forfeiture Statutes
  [Title 18 U.S.C. §§ 924(c) and 922(o), subject to forfeiture pursuant to Title 18 U.S.C. §
        924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)]

          As a result of the criminal violations set forth in Counts Three through Six, the United

States of America gives notice to the Defendants of its intent to seek the forfeiture of the property

described below upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. §

924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c), which states:

          Title 18 U.S.C. § 924. Penalties


                                                   4
        Case 5:23-cr-00636-JKP Document 15 Filed 12/13/23 Page 5 of 5




         (d)(l) Any firearm or ammunition involved in or used in any knowing violation
         of subsection . . . (o) . . . of section 922 . . . or knowing violation of section 924
         . . . shall be subject to seizure and forfeiture . . . under the provisions of this
         chapter. . . .

      This Notice of Demand for Forfeiture includes but is not limited to the following:

                                               III.

      1. $6,000.00, more or less, in United States Currency seized from Maria Celeste Padilla;
      2. $6,389.00, more or less, in United States Currency seized from Bradlee Taylor Grinde;
      3. Romarm Drako, 7.62x39mm caliber AK pistol with serial number DB-G744-18 Ro
         seized from Esteban Xavier Flores;
      4. Glock pistol model 22, .40 caliber containing serial number MSD407 seized from
         Esteban Xavier Flores;
      5. Sig Sauer P365 handgun with serial number 66F045503 Maria Celeste Padilla;
      6. Glock 30 handgun, .45 caliber, serial number BWTZ354 seized from Bradlee Taylor
         Grinde;
      7. Smith and Wesson SD9 handgun, serial number FBM5258 seized from Bradlee Taylor
         Grinde; and
      8. Any and all firearms, ammunition, and/or accessories involved in or used in the
         commission of the criminal offenses.


                                             A TRUE BILL


                                                              _____________
                                             FOREPERSON OF THE GRAND JURY



      JAIME ESPARZA
      UNITED STATES ATTORNEY


BY:   ________________________________
      FOR AMANDA C. BROWN
      Assistant United States Attorney




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